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 4
         Entered on Docket
 5       April 29, 2025
  __________________________________________________________________
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 7                             UNITED STATES BANKRUPTCY COURT

 8                                       DISTRICT OF NEVADA

 9                                               *****
     In re:                                      )  Case No.: 23-50950- HLB
10                                               )  Chapter 13
     PHILIP ANDREW MACKEN,                       )
11                                               )
                                                 )  Continued Settlement Conference
                             Debtor.             )
12                                                  Date: July 17, 2025
                                                 )  Time: 9:30 a.m.
13                                               )
                                                 )  Status Conference
14                                               )  Date: August 5, 2025
                                                 )  Time: 2:30 p.m.
15                                               )
                                                 )  Related ECF No. 160
16                                               )

17

18            ORDER CONTINUING SETTLEMENT AND STATUS CONFERENCES
19            Upon the agreement and at the request of debtor Philip Macken and the United States on
20 behalf of the Internal Revenue Service (each a “Party,” and collectively the “Parties”) and for

21 good cause, the Court hereby ORDERS:

22            1.     A continued Settlement Conference between the Parties is set for July 17, 2025,
23 at 9:30 a.m., before Hon. Christopher Jaime, United States Bankruptcy Judge, by remote

24 appearance via Zoom, unless otherwise ordered. Five (5) days prior to the settlement

25 conference, a courtroom deputy will email the Parties a link that will include the necessary

26 information to connect for remote participation. The terms governing attendance and

27 participation as set forth in the Order Scheduling Settlement and Status Conferences (ECF No.

28 160) and the Order Approving Stipulated Motion For Relief From Requirement That Persons

      With Binding Settlement Authority Attend Settlement Conference (ECF No. 163) still apply.
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 1         2.     A telephonic status conference is set for August 5, 2025, at 2:30 p.m. before

 2 Hon. Hilary L. Barnes. The parties must appear by dialing (833) 435-1820; Meeting ID: 160-

 3 532-0260; Passcode: 643758#. Instructions for appearing via telephone are also available on the

 4 court’s website at:

 5         www.nvb.uscourts.gov/news-rss/announcements/2020/0319-court-hearing-participation/.

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 7                                SIGNED AND DATED ABOVE.
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 9 Copies sent via CM/ECF ELECTRONIC FILING

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